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                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                     LONDON DIVISION

    ROBERT MAY, as Administrator for the             )    Cause No. 6:09-165
    Estate of Thomas May, and                        )
    CHRISTOPHER HALL, as                             )
    Administrator for the Estate of Bradley          )
    Hall and MATTHEW BENJAMIN                        )
    COOLEY,                                          )
                                                     )
                             Plaintiff,              )
                                                     )
            v.                                       )
                                                     )
    FORD MOTOR COMPANY,                              )

                             Defendant.

                DEFENDANT FORD'S MEMORANDUM OF LAW
     IN SUPPORT OF MOTION IN LIMINE CONCERNING PUNITIVE DAMAGES

            Defendant Ford Motor Company (“Ford”) hereby submits its Memorandum in

    Support of its Motion in Limine Concerning Punitive Damages.1


                                       I.      INTRODUCTION

            Plaintiffs may seek to submit the issue of punitive damages to the jury, a

    circumstance that presents this Court with an important responsibility. The United States

    Supreme Court has emphasized that the imposition of punitive damages “pose(s) an acute

    danger of arbitrary deprivation of property,” Honda Motor Co., Ltd. v. Oberg, 512 U.S.

    415, 432 (1990), and that “[t]he Due Process Clause of the Fourteenth Amendment

    prohibits the imposition of grossly excessive or arbitrary punishments.” State Farm Mut.

    Auto. Ins. Co. v. Campbell, 123 S. Ct. 1513, 1519-20 (2003). Therefore, it is incumbent

    1 Ford files its Motion In Limine and this Memorandum aware that its Motion for Summary Judgment on
    Punitive Damages remains pending and is not waiving or withdrawing that motion.



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    upon a court to control this power and to prevent a jury awarding punitive damages from

    “runn[ing] wild.” Pacific Mutual Life Insurance Co. v. Haslip, 499 U.S. 1, 18 (1991).

    This duty is consistent with the fundamental constitutional mandate that “a person receive

    fair notice not only of the punishment but also of the severity of the penalty that a State

    may impose.” BMW of North Am., Inc. v. Gore, 517 U.S. 559, 574 (1996). This Motion

    seeks to invoke the procedural safeguards required by the Due Process Clause in order to

    ensure that any award of punitive damages against Ford in this case does not amount

    simply to an “arbitrary deprivation of property.” Oberg, 512 U.S. at 432.

           First, Plaintiffs should be precluded from offering evidence of or in any way

    referring to Ford’s financial condition or net worth in all phases of the trial. Such

    evidence in this case is irrelevant and unfairly prejudicial. State Farm, 123 S. Ct. at

    1520. Ford’s financial information may not be considered in deciding the amount, if any,

    of an award. Ky. Rev. Stat. §§ 411.186(2). Ford does not intend to introduce any

    evidence of any inability to pay, and its financial condition is otherwise irrelevant. Such

    evidence should therefore be excluded.

           Second, Plaintiffs should be precluded from referring to punitive damages in the

    opening statement, as such references would be unnecessarily and unavoidably

    prejudicial to Ford. To establish an entitlement to punitive damages, Plaintiffs must

    prove, by clear and convincing evidence, that Ford acted with “oppression, fraud or

    malice.” Ky. Rev. Stat. § 411.184(2); Oberg, 512 U.S. at 433 (the clear and convincing

    standard of proof is “an important check against unwarranted imposition of punitive

    damages”). The “malice” requirement of Ky. Rev. Stat. 411.184(2) was determined by

    the Kentucky Supreme Court to be unconstitutional in Williams v. Wilson, 97 S.W.2d 260




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    (Ky. 1998). The Kentucky Supreme Court in Williams held that punitive damages might

    be allowed where gross negligence was proven, and restated the prevailing rule in the

    Commonwealth of Kentucky:

                    In order to justify punitive damages, there must
                    be first a finding of failure to exercise reasonable
                    care, and then an additional finding that this
                    negligence was accompanied by a “wanton or
                    reckless disregard for the lives, safety of
                    property of others.” This bears an element not
                    distinguishable from malice implied from the facts.

    Id. at 263- 264. (citing from Horton v. Union Light & Power Co., 690 S.W.2d 382, 388

    (Ky. 1985). (emphasis added).

            Plaintiffs must overcome these hurdles before the jury will be asked to consider

    awarding punitive damages; thus, it is inappropriate and inflammatory for Plaintiffs to

    refer to such a potential award initially.

            Third, Plaintiffs should be precluded from using opening statements, closing

    arguments, or at any other point of the trial to incite the jury to “send a message” or act as

    the “conscience of the community.”           Such rhetoric is thoroughly inappropriate and

    unfairly prejudicial. The jury’s task is to reach a verdict in this case, not to act as an

    uncontrolled arbiter of what it perceives to be social justice. State Farm, 123 S. Ct. at

    1522-23.

            Fourth, Ford moves the Court in limine to exclude all evidence of Ford’s sales of

    the 2001 Ford Taurus outside Kentucky. The Supreme Court has made it clear that one

    state cannot constitutionally impose economic sanctions as a deterrent for conduct

    occurring outside that state. See State Farm v. Campbell, 123 S. Ct. 1513, 1522-23




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    (2003); BMW, 517 U.S. at 571-73; White v. Ford Motor Company, 312 F.3d 998, 1014

    n.62 (9th Cir. 2002).


                                     II.     ARGUMENT

           A.      THIS COURT SHOULD EXCLUDE ALL REFERENCES TO
                   FORD’S WEALTH OR FINANCIAL CONDITION FROM ALL
                   PHASES OF THE TRIAL.

           This Court should preclude Plaintiffs from offering any evidence relating to

    Ford’s wealth, financial status, or aggregate profits from 2001 Ford Taurus sales. Even if

    the jury at some point is asked to determine whether to award punitive damages in this

    case and in what amount, all references to Ford’s financial wealth, financial status, or

    aggregate profits from Ford Taurus sales should be excluded from all phases of the trial.

    Kentucky Revised Statutes section 411.186(2) excludes the financial worth of a

    defendant from the factors a trier of fact should consider in determining the amount of

    punitive damages. Such evidence is not relevant in this case. To the extent that the

    defendant’s financial condition historically has been considered relevant to the

    determination of damages, it has been taken into account to mitigate damages where the

    damages awarded are excessive in relation to the defendant’s ability to pay. See, e.g.,

    C&C Trucking Co. & Lambert v. Smith, 612 So. 2d 1092, 1105 (Miss. 1992) (endorsing

    the principle that defendant should introduce evidence of wealth if he wishes to mitigate

    punitive damage award); Adams v. Murakami, 54 Cal. 3d 105, 113, 813 P.2d 1348 (Cal.

    1991) (discussing common law roots of rule). Here, Ford does not anticipate introducing

    any evidence of any inability to pay, and its financial condition is otherwise irrelevant.

    Ford submits that, pursuant to constitutional mandate and in simple fairness, all evidence

    of defendant Ford’s wealth must be prohibited from all phases of the trial in order to



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    minimize the undeniable prejudicial impact of such evidence not only prior to but also

    after any determination of any prima facie case of liability for punitive damages.

           The United States Supreme Court has noted repeatedly the dangerous and

    prejudicial nature of evidence of a corporate defendant’s financial net worth. “[T]he

    presentation of evidence of a defendant’s net worth creates the potential that juries will

    use their verdicts to express biases against big businesses, particularly those without

    strong local presences.” Oberg, 512 U.S. at 432. In Pacific Mutual Life Insurance

    Company v. Haslip, Justice Blackmun, writing for the majority, noted that “the fact finder

    must be guided by more than defendant’s net worth.” 499 U.S. 1, 22 (1991) (finding that

    plaintiffs do not deserve a windfall “because they have the good fortune to have a

    defendant with a deep pocket.”) Two years later, the same Court in TXO Production

    Corporation v. Alliance Resources Corporation agreed with the defendant that

    emphasizing the defendant’s wealth increases the risk that prejudice against large

    corporations influenced the award, but declined to address the argument since TXO had

    not preserved the point. 509 U.S. 443, 466 (1993). As stated in TXO, “the emphasis on

    the wealth of the wrongdoer increase[s] the risk that the award may have been influenced

    by prejudice against large corporations, a risk that is of special concern when the

    defendant is a nonresident,” as here. Id. at 464. Justice O’Connor, dissenting in TXO,

    noted that wealth creates a “special danger of bias,” because “juries may well feel

    privileged to correct perceived social ills stemming from unequal wealth distribution by

    transferring money from ‘wealthy’ corporations to comparatively needier plaintiffs.” Id.

    at 491-92.




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           In addition to recognizing the risk of prejudice such evidence presents, the Court

    has made clear the constitutional impropriety of considering the defendant’s wealth or

    financial status in awarding punitive damages. In BMW, the Supreme Court did not even

    consider the factor of the defendant’s financial worth in reviewing the punitive damages,

    although evidence of defendant’s wealth had been presented in the trial court. See BMW,

    517 U.S. at 574-85; see also Pivot Point Int’l, Inc. v. Charlene Prods., Inc., 932 F. Supp.

    220, 223 (N.D. Ill. 1996) (“[E]ven when considering punitive damages based on state

    law, the Supreme Court did not treat the defendant’s wealth as relevant.”). The Supreme

    Court in State Farm powerfully reaffirmed the central importance of the three due

    process guideposts and made clear that wealth evidence is neither relevant nor admissible

    to inflate an award beyond what can be justified under the BMW criteria: “The wealth of

    a defendant cannot justify an otherwise unconstitutional punitive damages award.” 123

    S. Ct. at 1525.

           Further, as discussed in detail below, evidence of Ford’s aggregate wealth and

    revenues poses special dangers. Such evidence simply cannot be used to justify the

    imposition of a significant punitive damages award. Such an approach runs afoul of the

    Supreme Court’s holding in BMW and State Farm that one State may not punish conduct

    or activities in another State. See BMW, 517 U.S. at 571-72; State Farm, 123 S. Ct. at

    1522-23; White v. Ford Motor Co., 312 F.3d 998, 1014 n.62 (9th Cir. 2002) (explaining

    that under BMW “we may not, as a matter of federal law, permit one state to punish . . .

    nationwide manufacturers for their conduct—actual or hypothetical—in other states”).

    Only a small portion of Ford’s net revenues and aggregate wealth came from the sale of

    the Ford Taurus, much less from the sale of the Ford Taurus in Kentucky. Allowing




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    consideration of the company’s aggregate financial condition generally permits the jury

    to punish Ford for conduct wholly unrelated to the sale of the Ford Taurus and wholly

    unconnected to consumers in Kentucky.

            State Farm makes clear that evidence of Ford’s wealth should not be introduced

    before the jury. In support of the punitive damages award, the State Farm plaintiffs cited

    to State Farm’s wealth “to defend a departure from well-established constraints on

    punitive damages.” Id. at 1525; see also id. at 1519 (“[t]he [lower] court also relied upon

    State Farm’s ‘massive wealth’”). The Supreme Court found that this “reference to

    [defendant’s] assets . . . had little to do with the actual harm sustained by the Campbells”

    and could not be used to support the award of punitive damages. Id. at 1525. The

    Supreme Court in State Farm reaffirmed the due process principle that wealth evidence is

    neither relevant nor admissible to inflate an award beyond what can be justified under the

    BMW criteria. Id. This is a fundamental principle of fairness, as stated in BMW:

            The fact that [a defendant] is a large corporation rather than an
            impecunious individual does not diminish its entitlement to fair notice of
            the demands that the several States impose on the conduct of its business.
            Indeed, its status as an active participant in the national economy
            implicates the federal interest in preventing individual States from
            imposing undue burdens on interstate commerce. While each State has
            ample power to protect its own consumers, none may use the punitive
            damages deterrent as a means of imposing its regulatory policies on the
            entire Nation.

    BMW, 517 U.S. at 585. Thus, admitting such evidence would exceed the constitutional

    limits established by the Supreme Court in State Farm and BMW.2



             2        Whether a jury is invited to consider a defendant’s net worth is an entirely separate
    question from whether a court should examine such evidence as part of its review of a jury’s award, and
    although Ford contends that introduction of wealth evidence before a jury is prejudicial and improper, such
    evidence can permissibly be considered by a reviewing court, post trial. The U.S. Supreme Court approved
    just such a punitive damages system in Pacific Mutual Life Insurance Company v. Haslip, 499 U.S. 1, 22
    (1991). The Court noted favorably that under the Alabama system then under review, “[a]ny evidence of


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             For all these reasons, consideration of Ford’s net worth or other financial

    condition evidence is improper, prejudicial, and unconstitutional under the circumstances

    presented here. The Court should therefore exclude such evidence in its entirety.

             B.       THIS COURT SHOULD PRECLUDE PLAINTIFF FROM ASKING
                      THE JURY TO “SEND A MESSAGE” OR ACT AS “THE
                      CONSCIENCE OF THE COMMUNITY.”

             Plaintiffs’ counsel should be precluded from appealing to the jurors to consider

    extra-judicial factors instead of the trial record in considering liability for, or calculating

    the amount of, any damage award. Plaintiffs should not be able to urge during opening

    statement, closing argument, or at any other point of the trial, that jury members should

    “send a message” to Ford’s boardroom or act as “conscience of the community,” or to

    consider similar and equally improper factors in determining whether to award either

    compensatory or punitive damages. Such instructions are inherently prejudicial because

    they, on their face, urge the jury to render its verdict based on “passion and prejudice.”

    Oberg, 512 U.S. at 426.

             Arguments pitting the local jurors against a large, out-of-state corporation

    “distract the jury from its ‘sworn duty to reach a fair, honest and just verdict according to

    the facts and evidence presented at trial.’ Whitehead v. Food Max, 163 F.3d 265, 277

    (5th Cir. 1998) (quoting Westbrook v. General Tire & Rubber Co., 754 F.2d 1233, 1238-

    39 (5th Cir. 1985)). In Westbrook, the Fifth Circuit stated that such an “us-against-them


    [the defendant’s] wealth was excluded from the trial in accord with Alabama law.” Id. at 19. As part of a
    searching post-trial review of the jury’s verdict, however, the trial court and then the appellate court were
    guided by “detailed substantive standards,” including, among other things, a consideration of “the financial
    position of the defendant.” Id. at 21-22. The Court concluded approvingly that, as a consequence,
    “Alabama plaintiffs do not enjoy a windfall because they have the good fortune to have a defendant with a
    deep pocket.” Id. at 22. For the same reasons, this Court should adopt a two-tiered system, excluding all
    evidence of Ford’s wealth from the jury trial, but permitting introduction and consideration of such
    evidence in post-trial review of the jury’s verdict, if any.



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    plea can have no appeal other than to prejudice by pitting ‘the community’ against a

    nonresident corporation.” Westbrook v. General Tire & Rubber Co., 754 F.2d 1233,

    1238 (5th Cir. 1985). See also United States v. Johnson, 968 F.2d 768 (8th Cir. 1992)

    (prosecutor’s inflammatory remark that jury should be a “bulwark” against drugs

    improperly incited jurors to be the “conscience of the community”); United States v.

    Solivan, 937 F.2d 1146, 1153 (6th Cir. 1991) (reversing conviction based on prosecutor’s

    closing argument urging jurors to “send a message,” finding such appeals “extremely

    prejudicial and harmful”); New York Central R.R. Co. v. Johnson, 279 U.S. 310, 319

    (1929) (references to defendant as “eastern railroad” that had “come into this town” and

    to witnesses “sent on from New York” “have so often been condemned as an appeal to

    local and sectional prejudices as to require no comment”); Pierce v. Platte-Clay Electric

    Cooperative, 769 S.W.2d 769, 779 (Mo. 1989) (such “send a message” arguments are

    inappropriate).   Because there is no place in this trial for such unfairly prejudicial

    argument, the Court should preclude Plaintiffs from attempting to engage in it.

           C. REFERENCE TO FORD’S GROSS REVENUES, AND OTHER
           EVIDENCE OF AND REFERENCE TO SALES OF FORD TAURUS
           VEHICLES OUTSIDE KENTUCKY, SHOULD BE PRECLUDED.

           This Court should preclude all evidence of or references to Ford’s gross revenues,

    net worth, or other indicia of Ford’s overall financial condition. As demonstrated above,

    Ford’s aggregate wealth and revenues are simply irrelevant to any question properly

    before the jury in any phase of the trial. Further, if the Court does determine that some

    financial evidence is admissible, Plaintiffs should not be allowed to present any evidence

    of sales of the 2001 Ford Taurus outside of Kentucky, complaints about these vehicles

    from outside of Kentucky, or profits or revenues from sales outside of Kentucky.




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     Furthermore, even if using evidence of Ford’s financial condition as a basis for imposing

     an award of punitive damages did not contravene the Due Process Clause generally,

     evidence of Ford’s overall net worth may not be used to calculate or justify any punitive

     damage award because it necessarily is derived from Ford’s national—and indeed

     international—vehicle sales.

            No state in the federal system can legislate except with respect to its own

     jurisdiction. In our federal system, “principles of state sovereignty and comity,” rooted in

     both due process and the Commerce Clause, mandate that a state, be it Kentucky or any

     other state in the Union, “may not impose economic sanctions on violators of its laws

     with the intent of changing the tortfeasor’s lawful conduct in other States.” BMW, 517

     U.S. at 572; U.S. CONST., Amend. 14; U.S. CONST. art. I § 8.              “To avoid such

     encroachment, the economic penalties that a State . . . inflicts on those who transgress its

     laws, whether the penalties take the form of legislatively authorized or judicially imposed

     punitive damages, must be supported by the State’s interest in protecting its own

     consumers and its own economy.” 517 U.S. at 572. Accordingly, the Court in BMW

     reversed an award of punitive damages that had been based upon the auto manufacturer’s

     national sales figures. Id. at 574-75.

            More recently, in State Farm v. Campbell, 123 S. Ct. 1513 (2003), the Supreme

     Court declared that a trier of fact may not rely on evidence of defendant’s extraterritorial

     conduct to support an award of punitive damages: “A jury must be instructed . . . that it

     may not use evidence of out-of-state conduct to punish a defendant for action that was

     lawful in the jurisdiction where it occurred.” Id. at 1522-23. The Court explained that

     such reliance is improper because a state has no “legitimate concern in imposing punitive




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     damages to punish a defendant for unlawful acts committed outside of the State’s

     jurisdiction.”   Id. at 1522.    Because plaintiffs improperly relied on defendant’s

     nationwide activities, the Court in State Farm reversed an award of punitive damages.

             The Ninth Circuit recently followed BMW and confirmed the constitutional

     prohibition on the imposition of punitive damages in order to protect the interests of

     citizens of other States. See White v. Ford Motor Company, 312 F.3d 998 (9th Cir.

     2002). In White, the plaintiffs alleged a design defect in a Ford vehicle and urged the

     Nevada jury to award punitive damages “that would punish Ford for its conduct toward

     consumers in all states.” The evidence presented to the jury “focused on the number of

     vehicles Ford sold nationally” and “Plaintiffs’ closing argument sought damages that

     would punish Ford for its conduct toward consumers in all states, not just Nevada.” Id. at

     1015. Indeed, “[t]he entire thrust of [the plaintiffs’] argument was that this Nevada jury

     now should vindicate the interests of all Ford truck owners everywhere with a verdict that

     would make the front page of every newspaper in the country.” Id.

             The Ninth Circuit reversed the punitive damage award, holding that under BMW

     “we may not, as a matter of federal law, permit one state to punish . . . nationwide

     manufacturers for their conduct-actual or hypothetical-in other states.” White, 312 F.3d

     at 1014, n.62. The court recognized that “BMW imposed a territorial limitation on

     punitive damages in the interest of federalism,” and stated that allowing the jury “to

     measure damages by [the alleged] harm to the whole country” was a “substantive error . .

     . of federal constitutional law.” Id. at 1016 & n.69. Thus, the court concluded, “the jury

     was permitted to engage in ‘a due process violation of the most basic sort’ when it arrived

     at its punitive damages award.” Id. at 1019 (quoting BMW, 517 U.S. at 573 n.19). The




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     court concluded that “under BMW ‘a state may not impose economic sanctions on

     violators of its laws with the intent of changing the tortfeasors’ . . . conduct in other

     states,’ whether the extraterritorial conduct is lawful or not.” Id. at 1018 (ellipses in

     original).

             Admission of any evidence touching upon factors not strictly limited to the State

     of Kentucky will taint any award and ultimately require reversal. Only a small portion of

     Ford’s net revenue comes from the sale of the 2001 Ford Taurus, much less from the sale

     of the 2001 Ford Taurus in Kentucky. Yet, introduction of evidence of Ford’s aggregate

     earnings necessarily would invite the jury to punish Ford for conduct wholly unrelated to

     the sale of the 2001 Ford Taurus and wholly unconnected to consumers in Kentucky.

     Any such jury award would exceed the ban on extraterritorial punishment established by

     BMW and would violate both the Commerce and Due Process Clauses: “While each

     State has ample power to protect its own consumers, none may use the punitive damages

     deterrent as a means of imposing its regulatory policies on the entire Nation.” Id. at 585.

     Allowing consideration of evidence of sales, customer complaints, or accidents outside of

     the state would run afoul of this prohibition by allowing the jury to punish Ford for

     conduct beyond its borders.

             As the authorities discussed above clearly demonstrate, any attempt by Plaintiffs

     to introduce any evidence of out-of-state conduct by Ford that has no impact on Kentucky

     residents, violates both Ford’s due process rights and general principles of federalism.

     See State Farm, 123 S. Ct. at 1523 (“A basic principle of federalism is that each State

     may make its own reasoned judgment about what conduct is permitted or proscribed

     within its borders, and each State alone can determine what measure of punishment, if




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     any, to impose on a defendant who acts within its jurisdiction.”) (emphasis added).

     Therefore, to the extent this Court admits any evidence regarding Ford’s sales or profits,

     such evidence must be limited to the sales occurring in the Commonwealth of Kentucky.

        D. THIS COURT SHOULD PRECLUDE PLAINTIFFS FROM REFERRING
           TO PUNITIVE DAMAGES IN OPENING STATEMENTS.

            Ford also seeks an order excluding any premature mention of punitive damages,

     specifically in Plaintiffs’ opening statement. Punitive damages are available only if

     plaintiff has established, “by clear and convincing evidence, that the defendant . . . acted .

     . . with oppression, fraud, or malice.” Ky. Rev. Stat. § 411.184(2). See also Oberg, 512

     U.S. at 433 (the clear and convincing standard of proof is “an important check against

     unwarranted imposition of punitive damages”).          In addition, under Kentucky law,

     plaintiffs must show that defendant’s conduct was intentional, deliberate, and outrageous

     in order to justify an award of punitive damages. Horton v. Union Light & Power Co.,

     690 S.W.2d 382, 389 (Ky. 1985) (“‘Punitive damages may be awarded for conduct that is

     outrageous, because of the defendant’s evil motive or his reckless indifference to the

     rights of others.’”) (emphasis in original); Banks v. Fritsch, 39 S.W.3d 474, 482 (Ky.

     App. Ct. 2001) (citing Hensley v. Paul Miller Ford, Inc., 508 S.W.2d 759, 762 (Ky.

     1974) for the proposition that punitive damages are “‘permitted’” “‘where the

     defendant’s wrongdoing has been intentional and deliberate, and has the character of

     outrage’”); see also Miller’s Bottled Gas, Inc. v. Borg-Warner Corp., 56 F.3d 726, 734

     (6th Cir. 1995) (applying Kentucky law) (“[A] defendant’s intent to injure the plaintiff is

     insufficient. The key, rather, is whether the defendant’s “misconduct ‘has the character

     of outrage.’”). Proof that defendant committed an intentional tort, without more, does not

     establish an entitlement to punitive damages; rather, plaintiff must prove that defendant is



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     guilty of “conscious wrongdoing.” Fowler v. Mantooth, 683 S.W.2d 250, 252 (Ky. 1984)

     (“The mere fact that the act is intentional and a tort does not justify punitive damages

     absent this additional element of implied malice, meaning conscious wrongdoing.”).

            Claiming punitive damages in opening argument, therefore, before Plaintiffs

     establish their right to submit the issue to the jury, would be unduly and unnecessarily

     prejudicial. In order to prevent the prejudice created by referring prematurely to any

     unmeritorious claim for punitive damages, Plaintiffs should be precluded from

     mentioning the issue in their opening statement. See, e.g., AmSouth Bank v. Gupta, 2002

     Miss. Lexis 357, *42-43 (stating that “section 11-1-65 requires that the subject of

     punitive damages not even be brought into the jury’s mind as it deliberates upon

     compensatory damages”); Fisher v. McIlroy, 739 S.W.2d 577 (Mo. App. 1987) (injecting

     issue of punitive damages into argument when issue not supported by evidence was

     prejudicial error). Accordingly, the Court should preclude Plaintiffs from making any

     reference to punitive damages in their opening statement.


                                         CONCLUSION

            For all the reasons stated above, Ford respectfully requests the Court grant the

     requested relief.



                                                FROST BROWN TODD LLC

                                                By: /s/ Kevin C. Schiferl
                                                   Kevin C. Schiferl
                                                   Attorneys for Defendant FORD MOTOR
                                                   COMPANY




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                                       CERTIFICATE OF SERVICE

             I hereby certify that on this 3rd day of January, 2011, a copy of the foregoing was
     filed electronically. Notice of this filing will be sent to the following parties by operation
     of the Court’s electronic filing system. Parties may access this filing through the Court’s
     system.

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